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DAVID L. ANDERSON (CABN 149604) NAR

United States Attorney ® 122020
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HALLIE HOFFMAN (CABN 210020) NoRTHERN Bs eStHICT COURT

Chief, Criminal Division CALIFORNIA

ANDREW M. SCOBLE (CABN 124940)
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Attorneys for United States of America
UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

UNITED STATES OF AMERICA, ) CASE NO. CR 19-0280 RS
Plaintiff,
) [PROPOSED] ORDER GRANTING PETITION
v. FOR WRIT OF HABEAS CORPUS AD
) PROSEQUENDUM
ROGELIO BELLOSO ALEMAN,
EDWIN ALVARADO AMAYA,
LUIS VELIS DIAZ,
RONALDY DOMINGUEZ,
OSCAR ESPINAL,
ELMER RODRIGUEZ, and
ALEXIS CRUZ ZEPEDA,

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Defendants.

 

 

 

Upon motion of the United States of America, and good cause appearing therefore,
IT IS HEREBY ORDERED that the request of the United States for issuance of the Writ of Habeas
Corpus Ad Prosequendum requiring the production of defendants Rogelio Belloso Aleman, Edwin
Alvarado Amaya, Luis Velis Diaz, Ronaldy Dominguez, Oscar Espinal, Elmer Rodriguez, and Alexis
Cruz Zepeda, before this Court on the date stated in the Writ submitted, or as soon thereafter as
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[PROPOSED] ORDER
CASE NO. CR 19-0280 RS

 
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practicable, and requiring that the defendant be present for all future hearings, is granted and the Writ

shall be issued as presented.

DATED: 4 ZM-VO Lor plus SK

Hon. Jacq line Scott Corley
United States Magistrate Judge

[PROPOSED] ORDER
CASE NO. CR 19-0280 RS

 
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WRIT OF HABEAS CORPUS AD PROSEQUENDUM

TO: DONALD M. O’KEEFE, United States Marshal for the Northern District of California and
Sheriff Paul M. Miyamoto, San Francisco County Jail No. 4, at 850 Bryant St. San

Francisco, California, and/or any of his authorized deputies:

Pursuant to the foregoing petition and order, you are directed to produce the body of ROGELIO
BELLOSO ALEMAN, who is in custody at the San Francisco County Jail, before the Honorable
Jacqueline Scott Corley, United States Magistrate Judge for the Northern District of California, located
at the San Francisco Federal Courthouse, located at 450 Golden Gate Avenue, 15th Floor, San
Francisco, California 94102, on March 13, 2020, at 11:30 a.m., or as soon thereafter as practicable, on
the charges filed against defendant in the above-entitled Court and further to produce said defendant at
all future hearings as necessary until the termination of the proceedings in this Court.

Should the current custodian release ROGELIO BELLOSO ALEMAN from its custody, you are
directed that the defendant immediately be delivered and remanded to the U.S. Marshals for the

Northern District of California and/or his authorized deputies under this Writ.

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DATED: a \ CLERK, UNITED STATES DISTRICT COURT
NORTHERN DISTBAICT OF CALIFORNIA

 

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WRIT OF HABEAS CORPUS AD PROSEQUENDUM
CASE NO. CR 19-0280 RS

 
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Case 3:19-cr-00280-RS Document 42 Filed 03/12/20 Page 4 of 9

WRIT OF HABEAS CORPUS AD PROSEQUENDUM

TO: DONALD M. O’KEEFE, United States Marshal for the Northern District of California and
Sheriff Paul M. Miyamoto, San Francisco County Jail No. 4, at 850 Bryant St. San

Francisco, California, and/or any of his authorized deputies:

Pursuant to the foregoing petition and order, you are directed to produce the body of EDWIN
ALVARADO AMAYA, who is in custody at the San Francisco County Jail, before the Honorable
Jacqueline Scott Corley, United States Magistrate Judge for the Northern District of California, located
at the San Francisco Federal Courthouse, located at 450 Golden Gate Avenue, 15th Floor, San
Francisco, California 94102, on March 13, 2020, at 11:30 a.m., or as soon thereafter as practicable, on
the charges filed against defendant in the above-entitled Court and further to produce said defendant at
all future hearings as necessary until the termination of the proceedings in this Court.

Should the current custodian release EDWIN ALVARADO AMAYA from its custody, you are
directed that the defendant immediately be delivered and remanded to the U.S. Marshals for the

Northern District of California and/or his authorized deputies under this Writ.

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DATED: 4 \y\v CLERK, UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

 

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WRIT OF HABEAS CORPUS AD PROSEQUENDUM
CASE NO. CR 19-0280 RS

 
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Case 3:19-cr-00280-RS Document 42 Filed 03/12/20 Page 5 of 9

WRIT OF HABEAS CORPUS AD PROSEQUENDUM

TO: DONALD M. O’KEEFE, United States Marshal for the Northern District of California and
Sheriff Paul M. Miyamoto, San Francisco County Jail No. 4, at 850 Bryant St. San

Francisco, California, and/or any of his authorized deputies:

Pursuant to the foregoing petition and order, you are directed to produce the body of LUIS
VELIS DIAZ, who is in custody at the San Francisco County Jail, before the Honorable Jacqueline Scott
Corley, United States Magistrate Judge for the Northern District of California, located at the San
Francisco Federal Courthouse, located at 450 Golden Gate Avenue, 15th Floor, San Francisco,
California 94102, on March 13, 2020, at 11:30 a.m., or as soon thereafter as practicable, on the charges
filed against defendant in the above-entitled Court and further to produce said defendant at all future
hearings as necessary until the termination of the proceedings in this Court.

Should the current custodian release LUIS VELIS DIAZ from its custody, you are directed that
the defendant immediately be delivered and remanded to the U.S. Marshals for the Northern District of

California and/or his authorized deputies under this Writ.

DATED: 4 \yNr082 CLERK, UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

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WRIT OF HABEAS CORPUS AD PROSEQUENDUM
CASE NO. CR 19-0280 RS

 
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WRIT OF HABEAS CORPUS AD PROSEQUENDUM

TO: DONALD M. O’KEEFE, United States Marshal for the Northern District of California and
Sheriff Paul M. Miyamoto, San Francisco County Jail No. 4, at 850 Bryant St. San

Francisco, California, and/or any of his authorized deputies:

Pursuant to the foregoing petition and order, you are directed to produce the body of RONALDY
DOMINGUEZ, who is in custody at the San Francisco County Jail, before the Honorable Jacqueline
Scott Corley, United States Magistrate Judge for the Northern District of California, located at the San
Francisco Federal Courthouse, located at 450 Golden Gate Avenue, 15th Floor, San Francisco,
California 94102, on March 13, 2020, at 11:30 a.m., or as soon thereafter as practicable, on the charges
filed against defendant in the above-entitled Court and further to produce said defendant at all future
hearings as necessary until the termination of the proceedings in this Court.

Should the current custodian release RONALDY DOMINGUEZ from its custody, you are
directed that the defendant immediately be delivered and remanded to the U.S. Marshals for the

Northern District of California and/or his authorized deputies under this Writ.

DATED: 3 2] Love CLERK, UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

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WRIT OF HABEAS CORPUS AD PROSEQUENDUM
CASE NO. CR 19-0280 RS

 
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WRIT OF HABEAS CORPUS AD PROSEQUENDUM

TO: DONALD M. O’KEEFE, United States Marshal for the Northern District of California and
. Sheriff Paul M. Miyamoto, San Francisco County Jail No. 4, at 850 Bryant St. San

Francisco, California, and/or any of his authorized deputies:

Pursuant to the foregoing petition and order, you are directed to produce the body of OSCAR
ESPINAL, who is in custody at the San Francisco County Jail, before the Honorable Jacqueline Scott
Corley, United States Magistrate Judge for the Northern District of California, located at the San
Francisco Federal Courthouse, located at 450 Golden Gate Avenue, 15th Floor, San Francisco,
California 94102, on March 13, 2020, at 11:30 a.m., or as soon thereafter as practicable, on the charges
filed against defendant in the above-entitled Court and further to produce said defendant at all future
hearings as necessary until the termination of the proceedings in this Court.

Should the current custodian release OSCAR ESPINAL from its custody, you are directed that
the defendant immediately be delivered and remanded to the U.S. Marshals for the Northern District of

California and/or his authorized deputies under this Writ.

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DATED: 4 | r}20 CLERK, UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

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WRIT OF HABEAS CORPUS AD PROSEQUENDUM
CASE NO. CR 19-0280 RS

 
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WRIT OF HABEAS CORPUS AD PROSEQUENDUM

TO: DONALD M. O’KEEFE, United States Marshal for the Northern District of California and
Sheriff Paul M. Miyamoto, San Francisco County Jail No. 4, at 850 Bryant St. San

Francisco, California, and/or any of his authorized deputies:

Pursuant to the foregoing petition and order, you are directed to produce the body of ELMER
RODRIGUEZ, who is in custody at the San Francisco County Jail, before the Honorable Jacqueline
Scott Corley, United States Magistrate Judge for the Northern District of California, located at the San
Francisco Federal Courthouse, located at 450 Golden Gate Avenue, 15th Floor, San Francisco,
California 94102, on March 13, 2020, at 11:30 a.m., or as soon thereafter as practicable, on the charges
filed against defendant in the above-entitled Court and further to produce said defendant at all future
hearings as necessary until the termination of the proceedings in this Court.

Should the current custodian release ELMER RODRIGUEZ from its custody, you are directed
that the defendant immediately be delivered and remanded to the U.S. Marshals for the Northern District

of California and/or his authorized deputies under this Writ.

DATED: A qa CLERK, UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

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WRIT OF HABEAS CORPUS AD PROSEQUENDUM
CASE NO. CR 19-0280 RS

 
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WRIT OF HABEAS CORPUS AD PROSEQUENDUM

TO: DONALD M. O’KEEFE, United States Marshal for the Northern District of California and
Sheriff Paul M. Miyamoto, San Francisco County Jail No. 4, at 850 Bryant St. San

Francisco, California, and/or any of his authorized deputies:

Pursuant to the foregoing petition and order, you are directed to produce the body of ALEXIS
CRUZ ZEPEDA, who is in custody at the San Francisco County Jail, before the Honorable Jacqueline
Scott Corley, United States Magistrate Judge for the Northern District of California, located at the San
Francisco Federal Courthouse, located at 450 Golden Gate Avenue, 15th Floor, San Francisco,
California 94102, on March 13, 2020, at 11:30 a.m., or as soon thereafter as practicable, on the charges
filed against defendant in the above-entitled Court and further to produce said defendant at all future
hearings as necessary until the termination of the proceedings in this Court.

Should the current custodian release ALEXIS CRUZ ZEPEDA from its custody, you are directed
that the defendant immediately be delivered and remanded to the U.S. Marshals for the Northern District

of California and/or his authorized deputies under this Writ.

DATED: 3 ia hy CLERK, UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

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WRIT OF HABEAS CORPUS AD PROSEQUENDUM
CASE NO. CR 19-0280 RS

 
